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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

RINNE CORPORATION,
                                                    Case No. 22-cv-5808
               Plaintiff,
                                                    Judge Mary M. Rowland
v.
                                                    Magistrate Judge Jeffrey Cole
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE "A",
               Defendants.

                             SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on February 14, 2023 (Dkt. No.

88) in favor of Plaintiff and against the Defendants Identified in Schedule A attached thereto.

Plaintiff acknowledges payment of an agreed upon damages amount, costs, and interest and desires

to release this judgment and hereby fully and completely satisfy the same as to the following

Defendant:

              Defendant No.              Defendant/Store Name or Alias
             #485                                  yuiknmd

        THEREFORE, full and complete satisfaction of said judgment as to above identified
Defendant is hereby acknowledged, and the Clerk of Court is hereby authorized and directed to
make an entry of the full and complete satisfaction on the docket of said judgment.

Date: February 22, 2023                             Respectfully submitted,

                                                    /S/BRANDON BEYMER
                                                    BRANDON BEYMER (ARDC NO. 6332454)
                                                    DALIAH SAPER (ARDC NO. 6283932)
                                                    SAPER LAW OFFICES, LLC
                                                    505 N. LASALLE, SUITE 60654
                                                    CHICAGO, ILLINOIS 60654
                                                    (312) 527-4100
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                                                     BRANDON@SAPERLAW.COM
                                                     DS@SAPERLAW.COM


                                                     ATTORNEYS FOR PLAINTIFF




                                CERTIFICATE OF SERVICE
       I hereby certify that on February 22, 2023, I will electronically file the foregoing with the

Clerk of the Court using the CM/ECF system and I will send an e-mail to the e-mail addresses

provided for Defendant by third parties.

                                                                     /s/ Brandon Beymer
                                                                     Brandon Beymer
